Filed 04/04/14                                                                                 Case 14-23526                                                                                             Doc 1
   B1 (Official Form 1)(04/13)
                                                     United States Bankruptcy Court
                                                             Eastern District of California                                                                           Voluntary Petition
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    Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
     Dean, Peggy Annette


   All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
   (include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




   Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
   (if more than one, state all)                                                                               (if more than one, state all)
     xxx-xx-7036
   Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
     1953 Manor Place Num 104
     Fairfield, CA
                                                                                              ZIP Code                                                                                        ZIP Code
                                                                                            94533
   County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
     Solano
   Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                              ZIP Code                                                                                        ZIP Code

   Location of Principal Assets of Business Debtor
   (if different from street address above):


                          Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
             (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
        Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
        See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                               Chapter 9
        Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                               Chapter 11
        Partnership                                                    Railroad
                                                                                                                               Chapter 12                      Chapter 15 Petition for Recognition
        Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                               Chapter 13                      of a Foreign Nonmain Proceeding
        check this box and state type of entity below.)                Commodity Broker
                                                                       Clearing Bank
                                                                       Other                                                                               Nature of Debts
                      Chapter 15 Debtors
                                                                              Tax-Exempt Entity                                                             (Check one box)
    Country of debtor's center of main interests:
                                                                             (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                       Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
    Each country in which a foreign proceeding
    by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                       Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                   Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
        Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                      Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
        attach signed application for the court's consideration certifying that the
                                                                                                      Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
        debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                      are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
        Form 3A.
                                                                                                 Check all applicable boxes:
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
        attach signed application for the court's consideration. See Official Form 3B.
                                                                                                      Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                      in accordance with 11 U.S.C. § 1126(b).
   Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
   Estimated Number of Creditors

        1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
        49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000

   Estimated Assets

        $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
        $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                      million    million      million        million       million
   Estimated Liabilities

        $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
        $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                      million    million      million        million       million
Filed 04/04/14                                                               Case 14-23526                                                                                           Doc 1
   B1 (Official Form 1)(04/13)                                                                                                                                                 Page 2
                                                                                         Name of Debtor(s):
   Voluntary Petition                                                                      Dean, Peggy Annette
   (This page must be completed and filed in every case)
                                    All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
   Location                                                                      Case Number:                         Date Filed:
   Where Filed: - None -
   Location                                                                              Case Number:                                   Date Filed:
   Where Filed:
             Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
   Name of Debtor:                                                     Case Number:                          Date Filed:
    - None -
   District:                                                                             Relationship:                                  Judge:

                                          Exhibit A                                                                                Exhibit B
                                                                                            (To be completed if debtor is an individual whose debts are primarily consumer debts.)
     (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
     forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
     pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
     and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                           required by 11 U.S.C. §342(b).

           Exhibit A is attached and made a part of this petition.                         X     /s/ Carl R. Gustafson                                  April 4, 2014
                                                                                               Signature of Attorney for Debtor(s)                     (Date)
                                                                                                 Carl R. Gustafson

                                                                                   Exhibit C
     Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
          Yes, and Exhibit C is attached and made a part of this petition.
          No.

                                                                              Exhibit D
     (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
           Exhibit D completed and signed by the debtor is attached and made a part of this petition.
     If this is a joint petition:
           Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                         Information Regarding the Debtor - Venue
                                                                   (Check any applicable box)
                       Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                       days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                       There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                       this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                       proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                       sought in this District.
                                            Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                    (Check all applicable boxes)
                       Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                          (Name of landlord that obtained judgment)




                                          (Address of landlord)

                       Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                       the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                       Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                       after the filing of the petition.
                       Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
Filed 04/04/14                                                                  Case 14-23526                                                                                       Doc 1
   B1 (Official Form 1)(04/13)                                                                                                                                             Page 3
                                                                                              Name of Debtor(s):
   Voluntary Petition                                                                           Dean, Peggy Annette
   (This page must be completed and filed in every case)
                                                                                       Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
        I declare under penalty of perjury that the information provided in this               I declare under penalty of perjury that the information provided in this petition
        petition is true and correct.                                                          is true and correct, that I am the foreign representative of a debtor in a foreign
        [If petitioner is an individual whose debts are primarily consumer debts and           proceeding, and that I am authorized to file this petition.
        has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                               (Check only one box.)
        chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
        available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
        [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
        petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                   Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
        I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
        specified in this petition.                                                                recognition of the foreign main proceeding is attached.

                                                                                              X
    X    /s/ Peggy Annette Dean
                                                                                                  Signature of Foreign Representative
        Signature of Debtor Peggy Annette Dean

    X                                                                                             Printed Name of Foreign Representative
        Signature of Joint Debtor
                                                                                                  Date
        Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
        April 4, 2014
                                                                                                  I declare under penalty of perjury that: (1) I am a bankruptcy petition
        Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                  compensation and have provided the debtor with a copy of this document
                                 Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                                  110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                                  pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
    X    /s/ Carl R. Gustafson
                                                                                                  chargeable by bankruptcy petition preparers, I have given the debtor notice
        Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
         Carl R. Gustafson 254881                                                                 debtor or accepting any fee from the debtor, as required in that section.
                                                                                                  Official Form 19 is attached.
        Printed Name of Attorney for Debtor(s)
         Lincoln Law
                                                                                                  Printed Name and title, if any, of Bankruptcy Petition Preparer
        Firm Name
         1525 Contra Costa Blvd.
         Pleasant Hill, CA 94523                                                                  Social-Security number (If the bankrutpcy petition preparer is not
                                                                                                  an individual, state the Social Security number of the officer,
                                                                                                  principal, responsible person or partner of the bankruptcy petition
        Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)


         8007226578 Fax: 8005846826
        Telephone Number
        April 4, 2014
                                                                                                  Address
        Date
        *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
        certification that the attorney has no knowledge after an inquiry that the            X
        information in the schedules is incorrect.
                                                                                                  Date
                   Signature of Debtor (Corporation/Partnership)
                                                                                                  Signature of bankruptcy petition preparer or officer, principal, responsible
        I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
        petition is true and correct, and that I have been authorized to file this petition
        on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                                  assisted in preparing this document unless the bankruptcy petition preparer is
        The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
        States Code, specified in this petition.

    X
        Signature of Authorized Individual
                                                                                                  If more than one person prepared this document, attach additional sheets
                                                                                                  conforming to the appropriate official form for each person.
        Printed Name of Authorized Individual
                                                                                                  A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                                  title 11 and the Federal Rules of Bankruptcy Procedure may result in
        Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

        Date
Filed 04/04/14                                                                Case 14-23526                                                Doc 1



    B 1D (Official Form 1, Exhibit D) (12/09)
                                                                  United States Bankruptcy Court
                                                                         Eastern District of California
     In re      Peggy Annette Dean                                                                        Case No.
                                                                                      Debtor(s)           Chapter    7




                      EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                      CREDIT COUNSELING REQUIREMENT
           Warning: You must be able to check truthfully one of the five statements regarding credit
    counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
    can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
    creditors will be able to resume collection activities against you. If your case is dismissed and you file
    another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
    extra steps to stop creditors' collection activities.
            Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
    and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

             n 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
    counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
    opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
    a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
    of any debt repayment plan developed through the agency.
                                       before the filing of my bankruptcy case, I received a briefing from a credit
                o 2. Within the 180 days
    counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
    opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
    not have a certificate from the agency describing the services provided to me. You must file a copy of a
    certificate from the agency describing the services provided to you and a copy of any debt repayment plan
    developed through the agency no later than 14 days after your bankruptcy case is filed.
                o 3. I certify that I requested credit counseling services from an approved agency but was unable to
    obtain the services during the seven days from the time I made my request, and the following exigent
    circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
    now. [Summarize exigent circumstances here.]
           If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
    within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
    agency that provided the counseling, together with a copy of any debt management plan developed
    through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
    extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
    Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
    case without first receiving a credit counseling briefing.
                o 4. I am not required to receive a credit counseling briefing because of: [Check the applicable
    statement.] [Must be accompanied by a motion for determination by the court.]
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Filed 04/04/14                                                                    Case 14-23526                                       Doc 1



    B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                        Page 2

                               o Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
                 mental deficiency so as to be incapable of realizing and making rational decisions with respect to
                 financial responsibilities.);
                         o Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
                 unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
                 through the Internet.);
                         o Active military duty in a military combat zone.

           o 5. The United States trustee or bankruptcy administrator has determined that the credit counseling
    requirement of 11 U.S.C. § 109(h) does not apply in this district.
                 I certify under penalty of perjury that the information provided above is true and correct.

                                                           Signature of Debtor:          /s/ Peggy Annette Dean
                                                                                         Peggy Annette Dean
                                                           Date:         April 4, 2014




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Filed 04/04/14                                                                    Case 14-23526                                                              Doc 1
   B 6 Summary (Official Form 6 - Summary) (12/13)




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                                                                          Eastern District of California
     In re          Peggy Annette Dean                                                                           Case No.
                                                                                                            ,
                                                                                          Debtor
                                                                                                                 Chapter                     7




                                                                      SUMMARY OF SCHEDULES
        Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
        B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
        Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
        also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




                 NAME OF SCHEDULE                          ATTACHED            NO. OF          ASSETS               LIABILITIES               OTHER
                                                            (YES/NO)           SHEETS

   A - Real Property                                              Yes            1                  214,000.00


   B - Personal Property                                          Yes            4                   81,282.18


   C - Property Claimed as Exempt                                 Yes            1


   D - Creditors Holding Secured Claims                           Yes            2                                         287,723.26


   E - Creditors Holding Unsecured                                Yes            2                                               0.00
       Priority Claims (Total of Claims on Schedule E)

   F - Creditors Holding Unsecured                                Yes            4                                          73,850.00
       Nonpriority Claims

   G - Executory Contracts and                                    Yes            1
      Unexpired Leases

   H - Codebtors                                                  Yes            1


   I - Current Income of Individual                               Yes            2                                                                    3,540.00
       Debtor(s)

   J - Current Expenditures of Individual                         Yes            2                                                                    3,546.37
       Debtor(s)

      Total Number of Sheets of ALL Schedules                                    20


                                                                           Total Assets             295,282.18


                                                                                             Total Liabilities             361,573.26




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Filed 04/04/14                                                                   Case 14-23526                                                                 Doc 1
   B 6 Summary (Official Form 6 - Summary) (12/13)




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                                                                          Eastern District of California
     In re           Peggy Annette Dean                                                                                 Case No.
                                                                                                             ,
                                                                                           Debtor
                                                                                                                        Chapter                7


                  STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
             If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
             a case under chapter 7, 11 or 13, you must report all information requested below.

                      Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                      report any information here.

             This information is for statistical purposes only under 28 U.S.C. § 159.
             Summarize the following types of liabilities, as reported in the Schedules, and total them.


                 Type of Liability                                                                  Amount

                 Domestic Support Obligations (from Schedule E)                                                      0.00

                 Taxes and Certain Other Debts Owed to Governmental Units
                 (from Schedule E)
                                                                                                                     0.00

                 Claims for Death or Personal Injury While Debtor Was Intoxicated
                 (from Schedule E) (whether disputed or undisputed)
                                                                                                                     0.00

                 Student Loan Obligations (from Schedule F)                                                          0.00

                 Domestic Support, Separation Agreement, and Divorce Decree
                 Obligations Not Reported on Schedule E
                                                                                                                     0.00

                 Obligations to Pension or Profit-Sharing, and Other Similar Obligations
                 (from Schedule F)
                                                                                                                     0.00

                                                                                 TOTAL                               0.00


                 State the following:

                 Average Income (from Schedule I, Line 12)                                                       3,540.00

                 Average Expenses (from Schedule J, Line 22)                                                     3,546.37

                 Current Monthly Income (from Form 22A Line 12; OR,
                 Form 22B Line 11; OR, Form 22C Line 20 )                                                        5,352.29


                 State the following:
                 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                     column
                                                                                                                                   110,936.26

                 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                     column
                                                                                                                     0.00

                 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                     PRIORITY, IF ANY" column
                                                                                                                                             0.00

                 4. Total from Schedule F                                                                                           73,850.00

                 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                      184,786.26




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Filed 04/04/14                                                            Case 14-23526                                                                      Doc 1
   B6A (Official Form 6A) (12/07)


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     In re         Peggy Annette Dean                                                                         Case No.
                                                                                                  ,
                                                                                    Debtor

                                                                 SCHEDULE A - REAL PROPERTY
          Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
  cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
  the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
  "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
  "Description and Location of Property."
          Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
  Unexpired Leases.
          If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
  claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
  if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                  Husband,    Current Value of
                                                                          Nature of Debtor's       Wife,     Debtor's Interest in             Amount of
                   Description and Location of Property                   Interest in Property     Joint, or  Property, without              Secured Claim
                                                                                                 Community Deducting  any Secured
                                                                                                             Claim or Exemption

  Personal Residence:                                                     Fee Simple                  -                    84,000.00                 34,154.00
  1953 Manor Pl Num 104
  Fairfield CA 94533

  1201 Glen Cove Parkway #1002                                            Rental Property             -                  130,000.00                 234,264.26
  Vallejo, CA 94591
  Foreclosed by HOA




                                                                                                   Sub-Total >           214,000.00          (Total of this page)

                                                                                                          Total >        214,000.00
     0     continuation sheets attached to the Schedule of Real Property
                                                                                                   (Report also on Summary of Schedules)
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Filed 04/04/14                                                                Case 14-23526                                                                         Doc 1
   B6B (Official Form 6B) (12/07)


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     In re         Peggy Annette Dean                                                                                Case No.
                                                                                                         ,
                                                                                        Debtor

                                                           SCHEDULE B - PERSONAL PROPERTY
      Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
  an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
  with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
  own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
  petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
      Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
  Unexpired Leases.
  If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
  If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
  "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                             N                                                              Husband,        Current Value of
                   Type of Property                          O               Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                               Joint, or   without Deducting any
                                                             E                                                             Community Secured Claim or Exemption

   1.    Cash on hand                                            Cash                                                           -                            29.00

   2.    Checking, savings or other financial                    US Bank                                                        -                            25.00
         accounts, certificates of deposit, or                   Checking Account #6162
         shares in banks, savings and loan,
         thrift, building and loan, and                          US Bank                                                        -                              0.64
         homestead associations, or credit                       Savings Account #1052
         unions, brokerage houses, or
         cooperatives.                                           Travis Credit Union                                            -                              1.65
                                                                 Checking Account #8050

                                                                 Travis Credit Union                                            -                              0.00
                                                                 Savings Account #8000

                                                                 US Bancorp Investments                                         -                            10.11
                                                                 Brokerage Account Number: 1307

                                                                 US Bank                                                        -                           101.09
                                                                 Checking Account# 1890

   3.    Security deposits with public                       X
         utilities, telephone companies,
         landlords, and others.

   4.    Household goods and furnishings,                        Household Goods & Furnishings                                  -                              0.00
         including audio, video, and
         computer equipment.

   5.    Books, pictures and other art                           Books, Music, CD's                                             -                           700.00
         objects, antiques, stamp, coin,
         record, tape, compact disc, and
         other collections or collectibles.

   6.    Wearing apparel.                                        Clothing                                                       -                        1,000.00

   7.    Furs and jewelry.                                   X

   8.    Firearms and sports, photographic,                  X
         and other hobby equipment.



                                                                                                                                Sub-Total >            1,867.49
                                                                                                                    (Total of this page)

     3     continuation sheets attached to the Schedule of Personal Property

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Filed 04/04/14                                                                Case 14-23526                                                                         Doc 1
   B6B (Official Form 6B) (12/07) - Cont.




     In re         Peggy Annette Dean                                                                                Case No.
                                                                                                         ,
                                                                                          Debtor

                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                               (Continuation Sheet)

                                                             N                                                              Husband,        Current Value of
                   Type of Property                          O               Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                               Joint, or   without Deducting any
                                                             E                                                             Community Secured Claim or Exemption

   9.    Interests in insurance policies.                        Symetra Life Insurance                                         -                              0.00
         Name insurance company of each                          Term Life
         policy and itemize surrender or                         Policy Number: 6705
         refund value of each.                                   Death Benefit: 50,000

   10. Annuities. Itemize and name each                      X
       issuer.

   11. Interests in an education IRA as                      X
       defined in 26 U.S.C. § 530(b)(1) or
       under a qualified State tuition plan
       as defined in 26 U.S.C. § 529(b)(1).
       Give particulars. (File separately the
       record(s) of any such interest(s).
       11 U.S.C. § 521(c).)

   12. Interests in IRA, ERISA, Keogh, or                        US Bank Retirement                                             -                      64,566.81
       other pension or profit sharing                           401(k) Savings
       plans. Give particulars.

   13. Stock and interests in incorporated                   X
       and unincorporated businesses.
       Itemize.

   14. Interests in partnerships or joint                    X
       ventures. Itemize.

   15. Government and corporate bonds                        X
       and other negotiable and
       nonnegotiable instruments.

   16. Accounts receivable.                                  X

   17. Alimony, maintenance, support, and                    X
       property settlements to which the
       debtor is or may be entitled. Give
       particulars.

   18. Other liquidated debts owed to debtor X
       including tax refunds. Give particulars.


   19. Equitable or future interests, life                   X
       estates, and rights or powers
       exercisable for the benefit of the
       debtor other than those listed in
       Schedule A - Real Property.




                                                                                                                                Sub-Total >          64,566.81
                                                                                                                    (Total of this page)

  Sheet 1 of 3          continuation sheets attached
  to the Schedule of Personal Property

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Filed 04/04/14                                                                Case 14-23526                                                                         Doc 1
   B6B (Official Form 6B) (12/07) - Cont.




     In re         Peggy Annette Dean                                                                                Case No.
                                                                                                         ,
                                                                                        Debtor

                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                               (Continuation Sheet)

                                                             N                                                              Husband,        Current Value of
                   Type of Property                          O               Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                               Joint, or   without Deducting any
                                                             E                                                             Community Secured Claim or Exemption

   20. Contingent and noncontingent                              Settlement with Armstrong World Industries, Inc                -                        2,214.88
       interests in estate of a decedent,                        Asbestos Settlement Trust for client Cornell M
       death benefit plan, life insurance                        Janes
       policy, or trust.                                         Trust Amount: $113,642.52
                                                                 Net Settlement: $17,046.38
                                                                 Payees: Susan M Janes (80%) & Peggy Annette
                                                                 Dean (20%)

   21. Other contingent and unliquidated                     X
       claims of every nature, including
       tax refunds, counterclaims of the
       debtor, and rights to setoff claims.
       Give estimated value of each.

   22. Patents, copyrights, and other                        X
       intellectual property. Give
       particulars.

   23. Licenses, franchises, and other                       X
       general intangibles. Give
       particulars.

   24. Customer lists or other compilations                  X
       containing personally identifiable
       information (as defined in 11 U.S.C.
       § 101(41A)) provided to the debtor
       by individuals in connection with
       obtaining a product or service from
       the debtor primarily for personal,
       family, or household purposes.

   25. Automobiles, trucks, trailers, and                        2012 Ford Fusion Sedan                                         -                      12,633.00
       other vehicles and accessories.                           39,000 Miles
                                                                 Good Condition

   26. Boats, motors, and accessories.                       X

   27. Aircraft and accessories.                             X

   28. Office equipment, furnishings, and                    X
       supplies.

   29. Machinery, fixtures, equipment, and                   X
       supplies used in business.

   30. Inventory.                                            X

   31. Animals.                                              X




                                                                                                                                Sub-Total >          14,847.88
                                                                                                                    (Total of this page)

  Sheet 2 of 3          continuation sheets attached
  to the Schedule of Personal Property

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Filed 04/04/14                                                            Case 14-23526                                                                          Doc 1
   B6B (Official Form 6B) (12/07) - Cont.




     In re         Peggy Annette Dean                                                                             Case No.
                                                                                                      ,
                                                                                     Debtor

                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                             N                                                           Husband,        Current Value of
                   Type of Property                          O            Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                            Joint, or   without Deducting any
                                                             E                                                          Community Secured Claim or Exemption

   32. Crops - growing or harvested. Give                    X
       particulars.

   33. Farming equipment and                                 X
       implements.

   34. Farm supplies, chemicals, and feed.                   X

   35. Other personal property of any kind                   X
       not already listed. Itemize.




                                                                                                                             Sub-Total >                  0.00
                                                                                                                 (Total of this page)
                                                                                                                                  Total >         81,282.18
  Sheet 3 of 3          continuation sheets attached
  to the Schedule of Personal Property                                                                                       (Report also on Summary of Schedules)
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Filed 04/04/14                                                                Case 14-23526                                                                                    Doc 1
   B6C (Official Form 6C) (4/13)


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     In re         Peggy Annette Dean                                                                                 Case No.
                                                                                                          ,
                                                                                        Debtor

                                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
   Debtor claims the exemptions to which debtor is entitled under:                               Check if debtor claims a homestead exemption that exceeds
   (Check one box)                                                                               $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
      11 U.S.C. §522(b)(2)                                                                                    with respect to cases commenced on or after the date of adjustment.)
      11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                        Value of                 Current Value of
                     Description of Property                                       Each Exemption                            Claimed                  Property Without
                                                                                                                            Exemption               Deducting Exemption
  Real Property
  Personal Residence:                                                     C.C.P. § 704.730                                        75,000.00                        84,000.00
  1953 Manor Pl Num 104
  Fairfield CA 94533

  Checking, Savings, or Other Financial Accounts, Certificates of Deposit
  US Bank                                           C.C.P. § 704.070                                                                    18.75                            25.00
  Checking Account #6162

  US Bank                                                                 C.C.P. § 704.070                                                0.50                             0.64
  Savings Account #1052

  Travis Credit Union                                                     C.C.P. § 704.070                                                1.24                             1.65
  Checking Account #8050

  US Bancorp Investments                                                  C.C.P. § 704.070                                                7.58                           10.11
  Brokerage Account Number: 1307

  US Bank                                                                 C.C.P. § 704.070                                              75.82                           101.09
  Checking Account# 1890

  Books, Pictures and Other Art Objects; Collectibles
  Books, Music, CD's                                  C.C.P. § 704.020                                                                700.00                            700.00

  Wearing Apparel
  Clothing                                                                C.C.P. § 704.020                                          1,000.00                         1,000.00

  Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
  US Bank Retirement                                  C.C.P. § 704.115(a)(1) & (2), (b)                                           64,566.81                        64,566.81
  401(k) Savings

  Contingent and Non-contingent Interests in Estate of a Decedent
  Settlement with Armstrong World Industries,        C.C.P. § 704.150                                                               2,214.88                       11,074.42
  Inc Asbestos Settlement Trust for client Cornell
  M Janes
  Trust Amount: $113,642.52
  Net Settlement: $17,046.38
  Payees: Susan M Janes (80%) & Peggy Annette
  Dean (20%)

  Automobiles, Trucks, Trailers, and Other Vehicles
  2012 Ford Fusion Sedan                                                  C.C.P. § 704.010                                                1.00                     12,633.00
  39,000 Miles
  Good Condition




                                                                                                          Total:                 143,586.58                       174,112.72
      0      continuation sheets attached to Schedule of Property Claimed as Exempt
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Filed 04/04/14                                                                        Case 14-23526                                                                           Doc 1
   B6D (Official Form 6D) (12/07)


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     In re         Peggy Annette Dean                                                                                             Case No.
                                                                                                                     ,
                                                                                                    Debtor

                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

         State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
   the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
   if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
   other security interests.
         List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
   guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
   creditors will not fit on this page, use the continuation sheet provided.
         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
   schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
   liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
         If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
   claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
         Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
   sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
   primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                               C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
                CREDITOR'S NAME                                O                                                              O    N   I
                                                                                                                                                CLAIM
             AND MAILING ADDRESS
                                                               D   H        DATE CLAIM WAS INCURRED,                          N    L   S
                                                                                                                                                               UNSECURED
                                                               E
                                                                              NATURE OF LIEN, AND                             T    I   P       WITHOUT
              INCLUDING ZIP CODE,                              B   W                                                          I    Q   U
                                                                                                                                              DEDUCTING        PORTION, IF
             AND ACCOUNT NUMBER                                T   J         DESCRIPTION AND VALUE                            N    U   T                          ANY
                                                               O   C               OF PROPERTY                                G    I   E       VALUE OF
               (See instructions above.)                       R
                                                                                 SUBJECT TO LIEN
                                                                                                                              E    D   D     COLLATERAL
                                                                                                                              N    A
                                                                                                                              T    T
  Account No.                                                          Home Owner Association Fees                                 E
                                                                                                                                   D

  Allied Trustee Services                                              1201 Glen Cove Parkway #1002
  990 Reserve Drive, Suite 208                                         Vallejo, CA 94591
  Roseville, CA 95678                                                  Foreclosed by HOA
                                                                   -

                                                                          Value $                            130,000.00                          7,000.00              7,000.00
  Account No. xxxx9840                                                 Opened: 07/12 Last active: 02/14

  Ford Cred                                                            Car Loan
  PO Box Box 542000
                                                                     2012 Ford Fusion Sedan
  Omaha, NE 68154
                                                                   - 39,000 Miles
                                                                     Good Condition
                                                                          Value $                             12,633.00                         19,305.00              6,672.00
  Account No.                                                          Opened: 01/07 Last active: 12/12

  Pnc Bank                                                             Second Mortgage
  PO Box 3180
                                                                     1201 Glen Cove Parkway #1002
  Pittsburgh, PA 15230
                                                                   - Vallejo, CA 94591
                                                                     Foreclosed by HOA
                                                                          Value $                            130,000.00                         59,095.00            59,095.00
  Account No. 1440                                                     2013/2014

  Treasurer Tax Collector-County Clerk                                 Property Tax
  Charles A. Lomeli
                                                                     1201 Glen Cove Parkway #1002
  675 Texas Street Ste 1900
                                                                   - Vallejo, CA 94591
  Fairfield, CA 94533                                                Foreclosed by HOA
                                                                          Value $                            130,000.00                          1,189.26              1,189.26
                                                                                                                           Subtotal
   1
  _____ continuation sheets attached                                                                                                            86,589.26            73,956.26
                                                                                                                  (Total of this page)




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Filed 04/04/14                                                                        Case 14-23526                                                                          Doc 1
   B6D (Official Form 6D) (12/07) - Cont.




     In re         Peggy Annette Dean                                                                                             Case No.
                                                                                                                     ,
                                                                                                    Debtor


                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                        (Continuation Sheet)

                                                               C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
               CREDITOR'S NAME                                 O
                                                               D                DATE CLAIM WAS INCURRED,
                                                                                                                              O
                                                                                                                              N
                                                                                                                                   N
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                                                                                                                                       S        CLAIM
             AND MAILING ADDRESS                                   H
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                                                               E
                                                                   W              NATURE OF LIEN, AND                         T    I   P
                                                                                                                                                              PORTION, IF
              INCLUDING ZIP CODE,                              B
                                                                                 DESCRIPTION AND VALUE
                                                                                                                              I    Q   U
                                                                                                                                              DEDUCTING
             AND ACCOUNT NUMBER                                T   J                                                          N    U   T
                                                                                                                                               VALUE OF          ANY
                                                               O   C                  OF PROPERTY                             G    I   E
                (See instructions.)                            R
                                                                                     SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                              N    A
                                                                                                                              T    T
  Account No. xxxxx4937                                                Opened: 05/11 Last active: 12/13                            E
                                                                                                                                   D

  Us Bank                                                              Mortgage
  PO Box 5227
                                                                     Personal Residence:
  Cincinnati, OH 45201
                                                                   - 1953 Manor Pl Num 104
                                                                     Fairfield CA 94533
                                                                          Value $                             84,000.00                         34,154.00                   0.00
  Account No. xxxxxxxxx7017                                            Opened: 04/07 Last active: 07/12

  Us Bank Home Mortgage                                                Mortgage
  4801 Frederica St
                                                                     1201 Glen Cove Parkway #1002
  Owensboro, KY 42301
                                                                   - Vallejo, CA 94591
                                                                     Foreclosed by HOA
                                                                          Value $                            130,000.00                        166,980.00           36,980.00
  Account No.

  Allied Trustee Services                                                 Representing:
  990 Reserve Drive, Suite 208                                            Us Bank Home Mortgage                                               Notice Only
  Roseville, CA 95678


                                                                          Value $
  Account No.




                                                                          Value $
  Account No.




                                                                          Value $
         1
  Sheet _____    1
              of _____  continuation sheets attached to                                                                    Subtotal
                                                                                                                                               201,134.00           36,980.00
  Schedule of Creditors Holding Secured Claims                                                                    (Total of this page)
                                                                                                                            Total              287,723.26         110,936.26
                                                                                                  (Report on Summary of Schedules)

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Filed 04/04/14                                                                       Case 14-23526                                                                               Doc 1
   B6E (Official Form 6E) (4/13)


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     In re         Peggy Annette Dean                                                                                                 Case No.
                                                                                                                         ,
                                                                                                   Debtor

                       SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
              A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
        to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
        account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
        continuation sheet for each type of priority and label each with the type of priority.
              The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
        so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
        Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
              If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
        schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
        liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
        column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
        "Disputed." (You may need to place an "X" in more than one of these three columns.)
              Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
        "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
              Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
        listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
        also on the Statistical Summary of Certain Liabilities and Related Data.
              Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
        priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
        total also on the Statistical Summary of Certain Liabilities and Related Data.

             Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

        TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
             Domestic support obligations
            Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
        of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

             Extensions of credit in an involuntary case
            Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
        trustee or the order for relief. 11 U.S.C. § 507(a)(3).

             Wages, salaries, and commissions
            Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
        representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
        occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

             Contributions to employee benefit plans
           Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
        whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

             Certain farmers and fishermen
             Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

             Deposits by individuals
            Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
        delivered or provided. 11 U.S.C. § 507(a)(7).

             Taxes and certain other debts owed to governmental units
             Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

             Commitments to maintain the capital of an insured depository institution
           Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
        Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

             Claims for death or personal injury while debtor was intoxicated
           Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
        another substance. 11 U.S.C. § 507(a)(10).




        * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                1         continuation sheets attached
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Filed 04/04/14                                                                        Case 14-23526                                                                          Doc 1
   B6E (Official Form 6E) (4/13) - Cont.




     In re         Peggy Annette Dean                                                                                           Case No.
                                                                                                                   ,
                                                                                                    Debtor

                       SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                        (Continuation Sheet)
                                                                                                                            Taxes and Certain Other Debts
                                                                                                                             Owed to Governmental Units
                                                                                                                                         TYPE OF PRIORITY
                                                               C   Husband, Wife, Joint, or Community                       C    U   D
               CREDITOR'S NAME,                                O                                                            O    N   I                      AMOUNT NOT
                                                               D                                                            N    L   S                      ENTITLED TO
             AND MAILING ADDRESS                               E   H          DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
              INCLUDING ZIP CODE,                              B   W
                                                                            AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                            OF CLAIM
             AND ACCOUNT NUMBER                                T   J                                                        N    U   T                                AMOUNT
                                                               O                                                            G    I   E                             ENTITLED TO
                (See instructions.)                            R   C                                                        E    D   D
                                                                                                                                                                      PRIORITY
                                                                                                                            N    A
                                                                                                                            T    T
  Account No.                                                          Taxes                                                     E
                                                                                                                                 D

  Franchise Tax Board
  Bankruptcy Section, MS A-340                                                                                                                              0.00
  PO Box 2952
                                                                   -
  Sacramento, CA 95812-2952

                                                                                                                                                    0.00                    0.00
  Account No.                                                          Taxes

  Internal Revenue Service
  PO Box 7346                                                                                                                                               0.00
  Philadelphia, PA 19101-7346
                                                                   -

                                                                                                                                                    0.00                    0.00
  Account No.

  United States Attorney                                                  Representing:
  Civil Division                                                          Internal Revenue Service                                           Notice Only
  450 Golden Gate Avenue
  San Francisco, CA 94102-3400


  Account No.




  Account No.




         1
  Sheet _____    1
              of _____  continuation sheets attached to                                                                  Subtotal                           0.00
  Schedule of Creditors Holding Unsecured Priority Claims                                                       (Total of this page)                0.00                    0.00
                                                                                                                            Total                           0.00
                                                                                                  (Report on Summary of Schedules)                  0.00                    0.00

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Filed 04/04/14                                                                      Case 14-23526                                                                               Doc 1
   B6F (Official Form 6F) (12/07)


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     In re         Peggy Annette Dean                                                                                      Case No.
                                                                                                                   ,
                                                                                                 Debtor


                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
   debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
   trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
   parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
   include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
   schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
   liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
   claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
         Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
   Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                          C   Husband, Wife, Joint, or Community                              C   U   D
                     CREDITOR'S NAME,                                     O                                                                   O   N   I
                     MAILING ADDRESS                                      D   H                                                               N   L   S
                   INCLUDING ZIP CODE,                                    E               DATE CLAIM WAS INCURRED AND                         T   I   P
                                                                              W
                  AND ACCOUNT NUMBER
                                                                          B             CONSIDERATION FOR CLAIM. IF CLAIM                     I   Q   U
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  Account No. 2024                                                                Opened: 03/93 Last active: 08/12                            T   T
                                                                                                                                                  E
                                                                                  Credit Card                                                     D

  Chase
  PO Box 15298                                                                -
  Wilmington, DE 19850

                                                                                                                                                                       16,264.00
  Account No.

  ARS National Service, Inc                                                       Representing:
  PO Box 463023                                                                   Chase                                                                              Notice Only
  Escondido, CA 92046



  Account No.                                                                     Opened: 07/08 Last active: 09/12
                                                                                  Charge Account
  Comenity Bank/Dressbrn
  PO Box 182789                                                               -
  Columbus, OH 43218

                                                                                                                                                                         1,374.00
  Account No. 1964                                                                Opened: 03/05 Last active: 12/12
                                                                                  Credit Card
  Discover Fin Svcs LLC
  PO Box 15316                                                                -
  Wilmington, DE 19850

                                                                                                                                                                         4,623.00

                                                                                                                                          Subtotal
   3
  _____ continuation sheets attached                                                                                                                                   22,261.00
                                                                                                                                (Total of this page)




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Filed 04/04/14                                                                      Case 14-23526                                                                    Doc 1
   B6F (Official Form 6F) (12/07) - Cont.




     In re         Peggy Annette Dean                                                                                  Case No.
                                                                                                                   ,
                                                                                                 Debtor

                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




                                                                          C   Husband, Wife, Joint, or Community                      C   U   D
                     CREDITOR'S NAME,                                     O                                                           O   N   I
                     MAILING ADDRESS                                      D   H                                                       N   L   S
                   INCLUDING ZIP CODE,
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                                                                                          DATE CLAIM WAS INCURRED AND                 T   I   P
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                  AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                    (See instructions above.)                             R
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  Account No.                                                                                                                             E
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  Van Ru Credit Corp                                                              Representing:
  11069 Strang Line Rd Bldg E                                                     Discover Fin Svcs LLC                                                   Notice Only
  Lenexa, KS 66215



  Account No.                                                                     For notification purposes only

  Equifax- Credit Bureau
  PO Box 740241                                                               -
  Atlanta, GA 30374

                                                                                                                                                                    0.00
  Account No.                                                                     For notification purposes only

  Experian- Credit Union
  P.O. Box 9701                                                               -
  Allen, TX 75013

                                                                                                                                                                    0.00
  Account No. 0252                                                                Opened: 09/07 Last active: 08/12
                                                                                  Charge Account
  Kohls/Capone
  N56 W 17000 Ridgewood Dr                                                    -
  Menomonee Falls, WI 53051

                                                                                                                                                              1,879.00
  Account No.

  JCC and Associates Inc                                                          Representing:
  PO Box 519                                                                      Kohls/Capone                                                            Notice Only
  Sauk Rapids, MN 56379



  Sheet no. _____
             1    of _____
                      3    sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                              1,879.00
  Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   B6F (Official Form 6F) (12/07) - Cont.




     In re         Peggy Annette Dean                                                                                  Case No.
                                                                                                                   ,
                                                                                                 Debtor

                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




                                                                          C   Husband, Wife, Joint, or Community                      C   U   D
                     CREDITOR'S NAME,                                     O                                                           O   N   I
                     MAILING ADDRESS                                      D   H                                                       N   L   S
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                                                                                          DATE CLAIM WAS INCURRED AND                 T   I   P
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                  AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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  Account No.                                                                     Opened: 05/06 Last active: 09/12                        E
                                                                                  Charge Account                                          D

  Mcydsnb
  9111 Duke Blvd                                                              -
  Mason, OH 45040

                                                                                                                                                              1,732.00
  Account No. xxxxxxxxxxxx0686                                                    Opened: 09/13 Balance date: 03/14
                                                                                  Unknown Loan Type From: U.S. Bank National
  Portfolio Recovery Ass                                                          Association
  120 Corporate Blvd Ste 1                                                    -
  Norfolk, VA 23502

                                                                                                                                                              9,438.00
  Account No.                                                                     For notification purposes only

  TransUnion - Credit Bureau
  P.O. Box 2000                                                               -
  Chester, PA 19022

                                                                                                                                                                    0.00
  Account No. 0660                                                                Opened: 05/07 Last active: 11/12
                                                                                  Credit Card
  U S Bank
  101 5th St E Ste A                                                          -
  Saint Paul, MN 55101

                                                                                                                                                            16,161.00
  Account No.                                                                     Opened: 03/10 Last active: 06/13
                                                                                  Charge Account
  U S Bank
  101 5th St E Ste A                                                          -
  Saint Paul, MN 55101

                                                                                                                                                              5,898.00

  Sheet no. _____
             2    of _____
                      3    sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                            33,229.00
  Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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Filed 04/04/14                                                                      Case 14-23526                                                                           Doc 1
   B6F (Official Form 6F) (12/07) - Cont.




     In re         Peggy Annette Dean                                                                                        Case No.
                                                                                                                    ,
                                                                                                 Debtor

                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




                                                                          C   Husband, Wife, Joint, or Community                             C   U   D
                     CREDITOR'S NAME,                                     O                                                                  O   N   I
                     MAILING ADDRESS                                      D   H                                                              N   L   S
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                                                                                          DATE CLAIM WAS INCURRED AND                        T   I   P
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                  AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
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                    (See instructions above.)                             R
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  Account No.                                                                     Opened: 06/07 Balance date: 02/14                              E
                                                                                  Credit Card                                                    D

  Us Bank
  PO Box 790084                                                               -
  Saint Louis, MO 63179

                                                                                                                                                                     8,692.00
  Account No. 8933                                                                Opened: 09/08 Balance date: 02/14
                                                                                  Credit Card
  Us Bank
  PO Box 790084                                                               -
  Saint Louis, MO 63179

                                                                                                                                                                     4,648.00
  Account No.

  Capital Management Service, LP                                                  Representing:
  698 1/2 South Odgen Street                                                      Us Bank                                                                        Notice Only
  Buffalo, NY 14206



  Account No. 3957                                                                Opened: 02/10 Balance date: 02/14
                                                                                  Credit Card
  Us Bank
  PO Box 790084                                                               -
  Saint Louis, MO 63179

                                                                                                                                                                     3,141.00
  Account No.

  United Recovery System                                                          Representing:
  PO Box 722929                                                                   Us Bank                                                                        Notice Only
  ATTN: Mrs. White
  Houston, TX 77272


  Sheet no. _____
             3    of _____
                      3    sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                   16,481.00
  Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)
                                                                                                                                             Total
                                                                                                                   (Report on Summary of Schedules)                73,850.00


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Filed 04/04/14                                                              Case 14-23526                                                                           Doc 1
   B6G (Official Form 6G) (12/07)


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     In re             Peggy Annette Dean                                                                          Case No.
                                                                                                         ,
                                                                                       Debtor

                            SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                  Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
                  of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
                  complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
                  state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
                  disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                     Check this box if debtor has no executory contracts or unexpired leases.
                                                                                         Description of Contract or Lease and Nature of Debtor's Interest.
                      Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                          of Other Parties to Lease or Contract                                 State contract number of any government contract.




          0
                    continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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Filed 04/04/14                                                             Case 14-23526                                                                    Doc 1
   B6H (Official Form 6H) (12/07)


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     In re          Peggy Annette Dean                                                                      Case No.
                                                                                                  ,
                                                                                 Debtor

                                                                      SCHEDULE H - CODEBTORS
            Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
        by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
        commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
        Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
        any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
        by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
        state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
        disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
            Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR




          0
                  continuation sheets attached to Schedule of Codebtors
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Filed 04/04/14                                                         Case 14-23526                                                                         Doc 1



     Fill in this information to identify your case:

     Debtor 1                      Peggy Annette Dean

     Debtor 2
     (Spouse, if filing)


     United States Bankruptcy Court for the:       EASTERN DISTRICT OF CALIFORNIA

     Case number                                                                                              Check if this is:
     (If known)
                                                                                                              o An amended filing
                                                                                                              o A supplement showing post-petition chapter
                                                                                                                 13 income as of the following date:

     Official Form B 6I                                                                                          MM / DD/ YYYY
     Schedule I: Your Income                                                                                                                          12/13
    Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
    spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
    attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

     Part 1:               Describe Employment

     1.     Fill in your employment
            information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

            If you have more than one job,
                                                  Employment status
                                                                        n Employed                                 o Employed
            attach a separate page with                                                                            o Not employed
            information about additional
                                                                        o Not employed
            employers.                            Occupation            Operation Specialist
            Include part-time, seasonal, or
                                                  Employer's name       US Bank
            self-employed work.

            Occupation may include student        Employer's address
            or homemaker, if it applies.


                                                  How long employed there?         20 Years

     Part 2:               Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.

    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
    more space, attach a separate sheet to this form.

                                                                                                            For Debtor 1      For Debtor 2 or
                                                                                                                              non-filing spouse

            List monthly gross wages, salary, and commissions (before all payroll
     2.     deductions). If not paid monthly, calculate what the monthly wage would be.        2.       $        5,125.00     $             N/A

     3.     Estimate and list monthly overtime pay.                                            3.      +$           21.00     +$            N/A

     4.     Calculate gross Income. Add line 2 + line 3.                                       4.       $      5,146.00           $       N/A




    Official Form B 6I                                                       Schedule I: Your Income                                                page 1
Filed 04/04/14                                                       Case 14-23526                                                                              Doc 1


     Debtor 1   Peggy Annette Dean                                                                    Case number (if known)



                                                                                                          For Debtor 1          For Debtor 2 or
                                                                                                                                non-filing spouse
          Copy line 4 here                                                                     4.         $      5,146.00       $             N/A

     5.   List all payroll deductions:
          5a.   Tax, Medicare, and Social Security deductions                                  5a.        $      1,335.00   $                   N/A
          5b.   Mandatory contributions for retirement plans                                   5b.        $          0.00   $                   N/A
          5c.   Voluntary contributions for retirement plans                                   5c.        $        252.00   $                   N/A
          5d.   Required repayments of retirement fund loans                                   5d.        $        137.00   $                   N/A
          5e.   Insurance                                                                      5e.        $        105.00   $                   N/A
          5f.   Domestic support obligations                                                   5f.        $          0.00   $                   N/A
          5g.   Union dues                                                                     5g.        $          0.00   $                   N/A
          5h.   Other deductions. Specify: HSA                                                 5h.+       $         50.00 + $                   N/A
                Purch Vac                                                                                 $         57.00   $                   N/A
                United Way                                                                                $         10.00   $                   N/A
                LTD                                                                                       $         29.00   $                   N/A
     6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,975.00       $               N/A
     7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          3,171.00       $               N/A
     8.   List all other income regularly received:
          8a. Net income from rental property and from operating a business,
                 profession, or farm
                 Attach a statement for each property and business showing gross
                 receipts, ordinary and necessary business expenses, and the total
                 monthly net income.                                                           8a.        $              0.00   $               N/A
          8b. Interest and dividends                                                           8b.        $              0.00   $               N/A
          8c. Family support payments that you, a non-filing spouse, or a dependent
                 regularly receive
                 Include alimony, spousal support, child support, maintenance, divorce
                 settlement, and property settlement.                                          8c.        $              0.00   $               N/A
          8d. Unemployment compensation                                                        8d.        $              0.00   $               N/A
          8e. Social Security                                                                  8e.        $              0.00   $               N/A
          8f.    Other government assistance that you regularly receive
                 Include cash assistance and the value (if known) of any non-cash assistance
                 that you receive, such as food stamps (benefits under the Supplemental
                 Nutrition Assistance Program) or housing subsidies.
                 Specify:                                                                      8f.        $              0.00   $               N/A
          8g. Pension or retirement income                                                     8g.        $              0.00   $               N/A
                                                    Wrongful death settlement payout
          8h.   Other monthly income. Specify: income                                          8h.+ $              369.00 + $                   N/A

     9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            369.00       $               N/A

     10. Calculate monthly income. Add line 7 + line 9.                                    10. $              3,540.00 + $           N/A = $          3,540.00
         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
     11. State all other regular contributions to the expenses that you list in Schedule J.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
         other friends or relatives.
         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
         Specify:                                                                                                                 11. +$                 0.00

     12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
         Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
         applies                                                                                                                      12.   $         3,540.00
                                                                                                                                            Combined
                                                                                                                                            monthly income
     13. Do you expect an increase or decrease within the year after you file this form?
         n No.
         o     Yes. Explain:




    Official Form B 6I                                                     Schedule I: Your Income                                                     page 2
Filed 04/04/14                                                             Case 14-23526                                                                            Doc 1



      Fill in this information to identify your case:

      Debtor 1              Peggy Annette Dean                                                                 Check if this is:
                                                                                                               o An amended filing
      Debtor 2                                                                                                 o A supplement showing post-petition chapter 13
      (Spouse, if filing)                                                                                            expenses as of the following date:

      United States Bankruptcy Court for the:      EASTERN DISTRICT OF CALIFORNIA                                        MM / DD / YYYY

      Case number                                                                                              o A separate filing for Debtor 2 because Debtor 2
      (If known)                                                                                                     maintains a separate household




      Official Form B 6J
      Schedule J: Your Expenses                                                                                                                                 12/13
      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
      information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
      (if known). Answer every question.

      Part 1:    Describe Your Household
      1. Is this a joint case?
            n No. Go to line 2.
            o Yes. Does Debtor 2 live in a separate household?
                   o No
                   o Yes. Debtor 2 must file a separate Schedule J.
      2.    Do you have dependents?         n No
            Do not list Debtor 1 and        o Yes. Fill out this information for     Dependent’s relationship to            Dependent’s        Does dependent
            Debtor 2.                       each dependent...........                Debtor 1 or Debtor 2                   age                live with you?
            Do not state the dependents'                                                                                                       o No
            names.                                                                                                                             o Yes
                                                                                                                                               o No
                                                                                                                                               o Yes
                                                                                                                                               o No
                                                                                                                                               o Yes
                                                                                                                                               o No
                                                                                                                                               o Yes
      3.    Do your expenses include               o No
            expenses of people other than
            yourself and your dependents?          n Yes
      Part 2:     Estimate Your Ongoing Monthly Expenses
      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
      expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
      applicable date.

      Include expenses paid for with non-cash government assistance if you know the value of
      such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                          Your expenses

      4.    The rental or home ownership expenses for your residence. Include first mortgage payments
            and any rent for the ground or lot.                                                                 4. $                                  348.87

            If not included in line 4:

            4a.   Real estate taxes                                                                            4a.   $                                 42.50
            4b.   Property, homeowner’s, or renter’s insurance                                                 4b.   $                                 20.00
            4c.   Home maintenance, repair, and upkeep expenses                                                4c.   $                                  0.00
            4d.   Homeowner’s association or condominium dues                                                  4d.   $                                407.00
      5.    Additional mortgage payments for your residence, such as home equity loans                          5.   $                                  0.00




      Official Form B 6J                                                 Schedule J: Your Expenses                                                    page 1
Filed 04/04/14                                                                      Case 14-23526                                                                                                Doc 1


      Debtor 1      Peggy Annette Dean                                                                                   Case number (if known)

      6.    Utilities:
            6a.     Electricity, heat, natural gas                                                          6a. $                                                          100.00
            6b.     Water, sewer, garbage collection                                                        6b. $                                                            0.00
            6c.     Telephone, cell phone, Internet, satellite, and cable services                          6c. $                                                          140.00
            6d.     Other. Specify: Cell Phone                                                              6d. $                                                          220.00
      7.    Food and housekeeping supplies                                                                   7. $                                                          650.00
      8.    Childcare and children’s education costs                                                         8. $                                                            0.00
      9.    Clothing, laundry, and dry cleaning                                                              9. $                                                          200.00
      10.   Personal care products and services                                                             10. $                                                          250.00
      11.   Medical and dental expenses                                                                     11. $                                                           25.00
      12.   Transportation. Include gas, maintenance, bus or train fare.
            Do not include car payments.                                                                    12. $                                                          480.00
      13.   Entertainment, clubs, recreation, newspapers, magazines, and books                              13. $                                                           35.00
      14.   Charitable contributions and religious donations                                                14. $                                                           83.00
      15.   Insurance.
            Do not include insurance deducted from your pay or included in lines 4 or 20.
            15a. Life insurance                                                                            15a. $                                                           25.00
            15b. Health insurance                                                                          15b. $                                                            0.00
            15c. Vehicle insurance                                                                         15c. $                                                          135.00
            15d. Other insurance. Specify:                                                                 15d. $                                                            0.00
      16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
            Specify:                                                                                        16. $                                                             0.00
      17.   Installment or lease payments:
            17a. Car payments for Vehicle 1                                                                17a. $                                                          385.00
            17b. Car payments for Vehicle 2                                                                17b. $                                                            0.00
            17c. Other. Specify:                                                                           17c. $                                                            0.00
            17d. Other. Specify:                                                                           17d. $                                                            0.00
      18.   Your payments of alimony, maintenance, and support that you did not report as deducted
            from your pay on line 5, Schedule I, Your Income (Official Form 6I).                            18. $                                                             0.00
      19.   Other payments you make to support others who do not live with you.                                 $                                                             0.00
            Specify:                                                                                        19.
      20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
            20a. Mortgages on other property                                                               20a. $                                                             0.00
            20b. Real estate taxes                                                                         20b. $                                                             0.00
            20c. Property, homeowner’s, or renter’s insurance                                              20c. $                                                             0.00
            20d. Maintenance, repair, and upkeep expenses                                                  20d. $                                                             0.00
            20e. Homeowner’s association or condominium dues                                               20e. $                                                             0.00
      21.   Other: Specify:                                                                                 21. +$                                                            0.00
      22. Your monthly expenses. Add lines 4 through 21.                                                                        22.      $                           3,546.37
          The result is your monthly expenses.
      23. Calculate your monthly net income.
          23a. Copy line 12 (your combined monthly income) from Schedule I.                                                    23a. $                                   3,540.00
          23b. Copy your monthly expenses from line 22 above.                                                                  23b. -$                                  3,546.37

            23c.    Subtract your monthly expenses from your monthly income.
                    The result is your monthly net income.                                                                     23c. $                                        -6.37

      24. Do you expect an increase or decrease in your expenses within the year after you file this form?
            For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a modification to the terms of
            your mortgage?
            n No.
            o Yes. Explain:




      Official Form B 6J                                                         Schedule J: Your Expenses                                                                  page 2
Filed 04/04/14                                                                Case 14-23526                                                         Doc 1
    B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                                  United States Bankruptcy Court
                                                                         Eastern District of California
     In re      Peggy Annette Dean                                                                               Case No.
                                                                                        Debtor(s)                Chapter    7




                                          DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                      DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                         I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of      22
                sheets, and that they are true and correct to the best of my knowledge, information, and belief.




     Date April 4, 2014                                                     Signature   /s/ Peggy Annette Dean
                                                                                        Peggy Annette Dean
                                                                                        Debtor

        Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                         18 U.S.C. §§ 152 and 3571.




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                                                                  United States Bankruptcy Court
                                                                         Eastern District of California
     In re       Peggy Annette Dean                                                                                Case No.
                                                                                      Debtor(s)                    Chapter        7

                                                           STATEMENT OF FINANCIAL AFFAIRS

               This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
    both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
    not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
    proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
    activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
    name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
    U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

              Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
    Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
    to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                     DEFINITIONS

              "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
    business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
    the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
    other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
    for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
    debtor's primary employment.

               "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
    corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
    their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


                   1. Income from employment or operation of business

        None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
         o         business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
                   year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
                   calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
                   report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
                   each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
                   petition is filed, unless the spouses are separated and a joint petition is not filed.)

                              AMOUNT                                SOURCE
                              $17,658.78                            2014 YTD Employment Income
                              $57,614.00                            2013 Employment Income
                              $51,799.00                            2012 Employment Income

                   2. Income other than from employment or operation of business

        None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
         n         during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
                   each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
                   petition is filed, unless the spouses are separated and a joint petition is not filed.)

                              AMOUNT                                SOURCE



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    B7 (Official Form 7) (04/13)
    2
                   3. Payments to creditors

          None     Complete a. or b., as appropriate, and c.
          o
                   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
                   services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
                   aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
                   payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
                   a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
                   include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
                   not filed.)

     NAME AND ADDRESS                                                     DATES OF                                                          AMOUNT STILL
         OF CREDITOR                                                      PAYMENTS                                AMOUNT PAID                  OWING
     Ford Cred                                                            Jan, Feb, March 2014                       $1,155.00               $19,305.00
     PO Box Box 542000
     Omaha, NE 68154
     Us Bank                                                              Jan, Feb, March 2014                         $1,046.61              $34,154.00
     PO Box 5227
     Cincinnati, OH 45201

          None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
          n        immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
                   transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
                   account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
                   budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
                   transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                   filed.)

                                                                                                                       AMOUNT
                                                                          DATES OF                                      PAID OR
                                                                          PAYMENTS/                                   VALUE OF              AMOUNT STILL
     NAME AND ADDRESS OF CREDITOR                                         TRANSFERS                                  TRANSFERS                OWING

          None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
          n        creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                   spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

     NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
          RELATIONSHIP TO DEBTOR                                          DATE OF PAYMENT                         AMOUNT PAID                 OWING

                   4. Suits and administrative proceedings, executions, garnishments and attachments

          None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
          n        this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
                   whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

     CAPTION OF SUIT                                                     NATURE OF          COURT OR AGENCY                                   STATUS OR
     AND CASE NUMBER                                                     PROCEEDING         AND LOCATION                                      DISPOSITION

          None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
          n        preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                   property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                   filed.)

     NAME AND ADDRESS OF PERSON FOR WHOSE                                                        DESCRIPTION AND VALUE OF
        BENEFIT PROPERTY WAS SEIZED                                      DATE OF SEIZURE                PROPERTY




      *   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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    B7 (Official Form 7) (04/13)
    3
                   5. Repossessions, foreclosures and returns

        None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
         n         returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
                   or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
                   spouses are separated and a joint petition is not filed.)

                                                                          DATE OF REPOSSESSION,
     NAME AND ADDRESS OF                                                    FORECLOSURE SALE,      DESCRIPTION AND VALUE OF
      CREDITOR OR SELLER                                                   TRANSFER OR RETURN              PROPERTY

                   6. Assignments and receiverships

        None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
         n         this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
                   joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                         DATE OF
     NAME AND ADDRESS OF ASSIGNEE                                        ASSIGNMENT                TERMS OF ASSIGNMENT OR SETTLEMENT

        None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
         n         preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                   property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                   filed.)

                                                                   NAME AND LOCATION
     NAME AND ADDRESS                                                   OF COURT                     DATE OF            DESCRIPTION AND VALUE OF
       OF CUSTODIAN                                                CASE TITLE & NUMBER               ORDER                    PROPERTY

                   7. Gifts

        None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
         n         and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
                   aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
                   either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS OF                                         RELATIONSHIP TO                                         DESCRIPTION AND
     PERSON OR ORGANIZATION                                         DEBTOR, IF ANY                 DATE OF GIFT             VALUE OF GIFT

                   8. Losses

        None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
         n         since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
                   spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                DESCRIPTION OF CIRCUMSTANCES AND, IF
     DESCRIPTION AND VALUE                                                      LOSS WAS COVERED IN WHOLE OR IN PART
         OF PROPERTY                                                               BY INSURANCE, GIVE PARTICULARS                    DATE OF LOSS

                   9. Payments related to debt counseling or bankruptcy

        None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
         o         concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
                   preceding the commencement of this case.

                                                                                DATE OF PAYMENT,                              AMOUNT OF MONEY
     NAME AND ADDRESS                                                        NAME OF PAYER IF OTHER                       OR DESCRIPTION AND VALUE
         OF PAYEE                                                                  THAN DEBTOR                                  OF PROPERTY
     Lincoln Law, LLP                                                        3/27/2014                                   $2044
     1525 Contra Costa Blvd.
     Pleasant Hill, CA 94523




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    4
                                                                           DATE OF PAYMENT,                                     AMOUNT OF MONEY
     NAME AND ADDRESS                                                    NAME OF PAYER IF OTHER                             OR DESCRIPTION AND VALUE
         OF PAYEE                                                            THAN DEBTOR                                          OF PROPERTY
     Debt Education&Certification Foundation                                                                               $30
     112 Goliad St., Suite D.
     Benbrook, TX 76126

                   10. Other transfers

        None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
         n         transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
                   filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
                   spouses are separated and a joint petition is not filed.)

     NAME AND ADDRESS OF TRANSFEREE,                                                                 DESCRIBE PROPERTY TRANSFERRED
         RELATIONSHIP TO DEBTOR                                          DATE                               AND VALUE RECEIVED

        None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
         n         trust or similar device of which the debtor is a beneficiary.

     NAME OF TRUST OR OTHER                                                                          AMOUNT OF MONEY OR DESCRIPTION AND
     DEVICE                                                              DATE(S) OF                  VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                         TRANSFER(S)                 IN PROPERTY

                   11. Closed financial accounts

        None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
         n         otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
                   financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
                   cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
                   include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
                   unless the spouses are separated and a joint petition is not filed.)

                                                                           TYPE OF ACCOUNT, LAST FOUR
                                                                           DIGITS OF ACCOUNT NUMBER,                        AMOUNT AND DATE OF SALE
     NAME AND ADDRESS OF INSTITUTION                                      AND AMOUNT OF FINAL BALANCE                              OR CLOSING

                   12. Safe deposit boxes

        None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
         n         immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
                   depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                   filed.)

                                                              NAMES AND ADDRESSES
     NAME AND ADDRESS OF BANK                                 OF THOSE WITH ACCESS                    DESCRIPTION                   DATE OF TRANSFER OR
      OR OTHER DEPOSITORY                                     TO BOX OR DEPOSITORY                    OF CONTENTS                    SURRENDER, IF ANY

                   13. Setoffs

        None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
         n         commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
                   spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

     NAME AND ADDRESS OF CREDITOR                                        DATE OF SETOFF                                     AMOUNT OF SETOFF

                   14. Property held for another person

        None       List all property owned by another person that the debtor holds or controls.
         n
     NAME AND ADDRESS OF OWNER                                DESCRIPTION AND VALUE OF PROPERTY                LOCATION OF PROPERTY


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    5
                   15. Prior address of debtor

        None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
         n         occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
                   address of either spouse.

     ADDRESS                                                             NAME USED                                         DATES OF OCCUPANCY

                   16. Spouses and Former Spouses

        None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
         n         Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
                   commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
                   the community property state.

     NAME

                   17. Environmental Information.

                   For the purpose of this question, the following definitions apply:

                   "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
                   or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
                   statutes or regulations regulating the cleanup of these substances, wastes, or material.

                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
                   operated by the debtor, including, but not limited to, disposal sites.

                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                   pollutant, or contaminant or similar term under an Environmental Law

        None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
         n         or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
                   the Environmental Law:

                                                              NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
     SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

        None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
         n         Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
     SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

        None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
         n         the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
                   docket number.

     NAME AND ADDRESS OF
     GOVERNMENTAL UNIT                                                   DOCKET NUMBER                                     STATUS OR DISPOSITION




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    6
                   18 . Nature, location and name of business

        None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
         n         ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
                   partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
                   immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
                   within six years immediately preceding the commencement of this case.

                   If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
                   ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
                   years immediately preceding the commencement of this case.

                   If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
                   ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
                   years immediately preceding the commencement of this case.

                                       LAST FOUR DIGITS OF
                                       SOCIAL-SECURITY OR
                                       OTHER INDIVIDUAL
                                       TAXPAYER-I.D. NO.                                                                               BEGINNING AND
     NAME                              (ITIN)/ COMPLETE EIN              ADDRESS                      NATURE OF BUSINESS               ENDING DATES

        None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
         n
     NAME                                                                  ADDRESS


        The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
    been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
    owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
    proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

         (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
    within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
    directly to the signature page.)

                   19. Books, records and financial statements

        None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
         n         supervised the keeping of books of account and records of the debtor.

     NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED

        None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
         n         of account and records, or prepared a financial statement of the debtor.

     NAME                                               ADDRESS                                                DATES SERVICES RENDERED

        None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
         n         of the debtor. If any of the books of account and records are not available, explain.

     NAME                                                                                   ADDRESS

        None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
         n         issued by the debtor within two years immediately preceding the commencement of this case.

     NAME AND ADDRESS                                                                                DATE ISSUED




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    7
                   20. Inventories

        None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
         n         and the dollar amount and basis of each inventory.

                                                                                                               DOLLAR AMOUNT OF INVENTORY
     DATE OF INVENTORY                                  INVENTORY SUPERVISOR                                   (Specify cost, market or other basis)

        None       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.
         n
                                                                                 NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
     DATE OF INVENTORY                                                           RECORDS

                   21 . Current Partners, Officers, Directors and Shareholders

        None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
         n
     NAME AND ADDRESS                                                    NATURE OF INTEREST                                PERCENTAGE OF INTEREST

        None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
         n         controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                               NATURE AND PERCENTAGE
     NAME AND ADDRESS                                                    TITLE                                 OF STOCK OWNERSHIP

                   22 . Former partners, officers, directors and shareholders

        None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
         n         commencement of this case.

     NAME                                                          ADDRESS                                               DATE OF WITHDRAWAL

        None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
         n         immediately preceding the commencement of this case.

     NAME AND ADDRESS                                                    TITLE                                 DATE OF TERMINATION

                   23 . Withdrawals from a partnership or distributions by a corporation

        None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
         n         in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
                   commencement of this case.

     NAME & ADDRESS                                                                                                        AMOUNT OF MONEY
     OF RECIPIENT,                                                       DATE AND PURPOSE                                  OR DESCRIPTION AND
     RELATIONSHIP TO DEBTOR                                              OF WITHDRAWAL                                     VALUE OF PROPERTY

                   24. Tax Consolidation Group.

        None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
         n         group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
                   of the case.

     NAME OF PARENT CORPORATION                                                                           TAXPAYER IDENTIFICATION NUMBER (EIN)




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    B7 (Official Form 7) (04/13)
    8
                   25. Pension Funds.

        None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
         n         employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

     NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                                 ******

                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


    I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
    and that they are true and correct.


     Date April 4, 2014                                                  Signature    /s/ Peggy Annette Dean
                                                                                      Peggy Annette Dean
                                                                                      Debtor

                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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    B8 (Form 8) (12/08)
                                                                  United States Bankruptcy Court
                                                                         Eastern District of California
     In re      Peggy Annette Dean                                                                            Case No.
                                                                                       Debtor(s)              Chapter      7


                                     CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

    PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
         property of the estate. Attach additional pages if necessary.)

     Property No. 1

     Creditor's Name:                                                                   Describe Property Securing Debt:
     Allied Trustee Services                                                            1201 Glen Cove Parkway #1002
                                                                                        Vallejo, CA 94591
                                                                                        Foreclosed by HOA

     Property will be (check one):
         n Surrendered                                                    o Retained

     If retaining the property, I intend to (check at least one):
          o Redeem the property
          o Reaffirm the debt
          o Other. Explain                                (for example, avoid lien using 11 U.S.C. § 522(f)).

     Property is (check one):
         n Claimed as Exempt                                                            o Not claimed as exempt

     Property No. 2

     Creditor's Name:                                                                   Describe Property Securing Debt:
     Ford Cred                                                                          2012 Ford Fusion Sedan
                                                                                        39,000 Miles
                                                                                        Good Condition

     Property will be (check one):
         o Surrendered                                                    n Retained
     If retaining the property, I intend to (check at least one):
          o Redeem the property
          n Reaffirm the debt
          o Other. Explain                                (for example, avoid lien using 11 U.S.C. § 522(f)).

     Property is (check one):
         n Claimed as Exempt                                                            o Not claimed as exempt




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    B8 (Form 8) (12/08)                                                                                                          Page 2
     Property No. 3

     Creditor's Name:                                                                 Describe Property Securing Debt:
     Pnc Bank                                                                         1201 Glen Cove Parkway #1002
                                                                                      Vallejo, CA 94591
                                                                                      Foreclosed by HOA

     Property will be (check one):
         n Surrendered                                                   o Retained

     If retaining the property, I intend to (check at least one):
          o Redeem the property
          o Reaffirm the debt
          o Other. Explain                                (for example, avoid lien using 11 U.S.C. § 522(f)).

     Property is (check one):
         o Claimed as Exempt                                                          n Not claimed as exempt

     Property No. 4

     Creditor's Name:                                                                 Describe Property Securing Debt:
     Us Bank                                                                          Personal Residence:
                                                                                      1953 Manor Pl Num 104
                                                                                      Fairfield CA 94533

     Property will be (check one):
         o Surrendered                                                   n Retained
     If retaining the property, I intend to (check at least one):
          o Redeem the property
          o Reaffirm the debt
          n Other. Explain continue making payments (for example, avoid lien using 11 U.S.C. § 522(f)).
     Property is (check one):
         n Claimed as Exempt                                                          o Not claimed as exempt




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    B8 (Form 8) (12/08)                                                                                                                      Page 3
     Property No. 5

     Creditor's Name:                                                                 Describe Property Securing Debt:
     Us Bank Home Mortgage                                                            1201 Glen Cove Parkway #1002
                                                                                      Vallejo, CA 94591
                                                                                      Foreclosed by HOA

     Property will be (check one):
         n Surrendered                                                   o Retained

     If retaining the property, I intend to (check at least one):
          o Redeem the property
          o Reaffirm the debt
          o Other. Explain                                (for example, avoid lien using 11 U.S.C. § 522(f)).

     Property is (check one):
         o Claimed as Exempt                                                          n Not claimed as exempt

    PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
    Attach additional pages if necessary.)

     Property No. 1

     Lessor's Name:                                                Describe Leased Property:              Lease will be Assumed pursuant to 11
     -NONE-                                                                                               U.S.C. § 365(p)(2):
                                                                                                          o YES            o NO


    I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
    personal property subject to an unexpired lease.


     Date April 4, 2014                                                   Signature   /s/ Peggy Annette Dean
                                                                                      Peggy Annette Dean
                                                                                      Debtor




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                                                                  United States Bankruptcy Court
                                                                         Eastern District of California
     In re       Peggy Annette Dean                                                                               Case No.
                                                                                      Debtor(s)                   Chapter       7

                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
    1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
           compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
           be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                  For legal services, I have agreed to accept                                                 $                     2,044.00
                  Prior to the filing of this statement I have received                                       $                     2,044.00
                  Balance Due                                                                                 $                        0.00

    2.     $     306.00       of the filing fee has been paid.

    3.     The source of the compensation paid to me was:

                  n   Debtor           o Other (specify):

    4.     The source of compensation to be paid to me is:

                  n   Debtor           o Other (specify):

    5.       n   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

             o I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
                 copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

    6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

           a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
           b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
           c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
           d.    [Other provisions as needed]


    7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                   Representation of the debtors in negotiations with secured creditors to reduce to market value; exemption
                   planning; preparation and filing of reaffirmation agreements, any dischargeability actions, judicial lien
                   avoidances, relief from stay actions or any other adversary proceeding; preparation and filing of motions
                   pursuant to 11 USC 522(f)(2)(A) for avoidance of liens on household goods.
                                                                               CERTIFICATION

           I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
     this bankruptcy proceeding.

     Dated:       April 4, 2014                                                       /s/ Carl R. Gustafson
                                                                                      Carl R. Gustafson
                                                                                      Lincoln Law
                                                                                      1525 Contra Costa Blvd.
                                                                                      Pleasant Hill, CA 94523
                                                                                      8007226578 Fax: 8005846826




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    B 201A (Form 201A) (11/12)



                                                         UNITED STATES BANKRUPTCY COURT
                                                          EASTERN DISTRICT OF CALIFORNIA
                                             NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                      OF THE BANKRUPTCY CODE
              In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
    briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
    bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
    may examine all information you supply in connection with a bankruptcy case.

             You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
    attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

             Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
    you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
    your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
    the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
    from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
    receive a separate copy of all notices.

    1. Services Available from Credit Counseling Agencies
              With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
    relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
    provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
    briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
    provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
    clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
    joint case must complete the briefing.

              In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
    instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
    instructional courses. Each debtor in a joint case must complete the course.

    2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

                Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
             Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
    debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
    proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
    the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
    dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
             Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
    possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
             The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
    committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
    purpose for which you filed the bankruptcy petition will be defeated.
             Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
    responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
    obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
    bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
    from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
    malicious injury, the bankruptcy court may determine that the debt is not discharged.

           Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
    $46 administrative fee: Total fee $281)
                Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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    Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

    a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
    Code.
             Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
    your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
    income and other factors. The court must approve your plan before it can take effect.
             After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
    most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
    bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

                Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
            Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
    complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

                Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
             Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
    and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
    family-owned farm or commercial fishing operation.

    3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
              A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
    orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
    debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
    States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

    WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
    assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
    filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
    documents and the deadlines for filing them are listed on Form B200, which is posted at
    http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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    B 201B (Form 201B) (12/09)
                                                                  United States Bankruptcy Court
                                                                         Eastern District of California
     In re      Peggy Annette Dean                                                                                Case No.
                                                                                      Debtor(s)                   Chapter        7

                                        CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                            UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                           Certification of Debtor
                I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
    Code.
     Peggy Annette Dean                                                                 X /s/ Peggy Annette Dean                     April 4, 2014
     Printed Name(s) of Debtor(s)                                                         Signature of Debtor                        Date

     Case No. (if known)                                                                X
                                                                                            Signature of Joint Debtor (if any)       Date




    Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

    Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
    Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
    notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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Filed 04/04/14                           Case 14-23526           Doc 1
                 Dean, Peggy - - Pg. 1 of 3


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                                Allied Trustee Services
                                990 Reserve Drive, Suite 208
                                Roseville, CA 95678


                                ARS National Service, Inc
                                PO Box 463023
                                Escondido, CA 92046


                                Capital Management Service, LP
                                698 1/2 South Odgen Street
                                Buffalo, NY 14206


                                Chase
                                PO Box 15298
                                Wilmington, DE 19850


                                Comenity Bank/Dressbrn
                                PO Box 182789
                                Columbus, OH 43218


                                Discover Fin Svcs LLC
                                PO Box 15316
                                Wilmington, DE 19850


                                Equifax- Credit Bureau
                                PO Box 740241
                                Atlanta, GA 30374


                                Experian- Credit Union
                                P.O. Box 9701
                                Allen, TX 75013


                                Ford Cred
                                PO Box Box 542000
                                Omaha, NE 68154


                                Franchise Tax Board
                                Bankruptcy Section, MS A-340
                                PO Box 2952
                                Sacramento, CA 95812-2952


                                Internal Revenue Service
                                PO Box 7346
                                Philadelphia, PA 19101-7346
Filed 04/04/14                           Case 14-23526                 Doc 1
                 Dean, Peggy - - Pg. 2 of 3



                                JCC and Associates Inc
                                PO Box 519
                                Sauk Rapids, MN 56379


                                Kohls/Capone
                                N56 W 17000 Ridgewood Dr
                                Menomonee Falls, WI 53051


                                Mcydsnb
                                9111 Duke Blvd
                                Mason, OH 45040


                                Pnc Bank
                                PO Box 3180
                                Pittsburgh, PA 15230


                                Portfolio Recovery Ass
                                120 Corporate Blvd Ste 1
                                Norfolk, VA 23502


                                TransUnion - Credit Bureau
                                P.O. Box 2000
                                Chester, PA 19022


                                Treasurer Tax Collector-County Clerk
                                Charles A. Lomeli
                                675 Texas Street Ste 1900
                                Fairfield, CA 94533


                                U S Bank
                                101 5th St E Ste A
                                Saint Paul, MN 55101


                                United Recovery System
                                PO Box 722929
                                ATTN: Mrs. White
                                Houston, TX 77272


                                United States Attorney
                                Civil Division
                                450 Golden Gate Avenue
                                San Francisco, CA 94102-3400
Filed 04/04/14                           Case 14-23526        Doc 1
                 Dean, Peggy - - Pg. 3 of 3



                                Us Bank
                                PO Box 5227
                                Cincinnati, OH 45201


                                Us Bank
                                PO Box 790084
                                Saint Louis, MO 63179


                                Us Bank Home Mortgage
                                4801 Frederica St
                                Owensboro, KY 42301


                                Van Ru Credit Corp
                                11069 Strang Line Rd Bldg E
                                Lenexa, KS 66215
Filed 04/04/14                                                            Case 14-23526                                                                              Doc 1
      B22A (Official Form 22A) (Chapter 7) (04/13)

     In re  Peggy Annette Dean
                              Debtor(s)                                               According to the information required to be entered on this statement
     Case Number:                                                                       (check one box as directed in Part I, III, or VI of this statement):
                         (If known)                                                         o The presumption arises.
                                                                                            n The presumption does not arise.
                                                                                            o The presumption is temporarily inapplicable.


                                     CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                               AND MEANS-TEST CALCULATION
    In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions in Part I applies,
    joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should complete separate statements if they
    believe this is required by § 707(b)(2)(C).

                                                  Part I. MILITARY AND NON-CONSUMER DEBTORS
                 Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the beginning of the
                 Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete the verification in Part
                 VIII. Do not complete any of the remaining parts of this statement.
        1A
                 o Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as defined in
                 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as defined in 10 U.S.C. §
                 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).
                 Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification in Part VIII.
        1B       Do not complete any of the remaining parts of this statement.
                 o Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.
                 Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component of the Armed
                 Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1)) after September 11,
                 2001, for a period of at least 90 days, or who have performed homeland defense activity (as defined in 32 U.S.C. § 901(1)) for a period of
                 at least 90 days, are excluded from all forms of means testing during the time of active duty or homeland defense activity and for 540
                 days thereafter (the "exclusion period"). If you qualify for this temporary exclusion, (1) check the appropriate boxes and complete any
                 required information in the Declaration of Reservists and National Guard Members below, (2) check the box for "The presumption is
                 temporarily inapplicable" at the top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you
                 are not required to complete the balance of this form, but you must complete the form no later than 14 days after the date on
                 which your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your case
                 before your exclusion period ends.
                 o Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries below, I declare
        1C       that I am eligible for a temporary exclusion from means testing because, as a member of a reserve component of the Armed Forces or the
                 National Guard

                                          a. o I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                   o I remain on active duty /or/
                                                   o I was released from active duty on         , which is less than 540 days before this bankruptcy case was
                                          filed;

                                                      OR

                                          b. o I am performing homeland defense activity for a period of at least 90 days /or/
                                             o I performed homeland defense activity for a period of at least 90 days, terminating on      , which is less than
                                             540 days before this bankruptcy case was filed.




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Filed 04/04/14                                                           Case 14-23526                                                                         Doc 1
      B22A (Official Form 22A) (Chapter 7) (04/13)                                                                                                             2

                            Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
                 Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
                 a. n Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
                 b. o Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under penalty of perjury:
                       "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are living apart other than for the
         2             purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code." Complete only column A ("Debtor's Income")
                       for Lines 3-11.
                 c. o Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both Column A
                       ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
                 d. o Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
                 All figures must reflect average monthly income received from all sources, derived during the six       Column A           Column B
                 calendar months prior to filing the bankruptcy case, ending on the last day of the month before
                 the filing. If the amount of monthly income varied during the six months, you must divide the            Debtor's           Spouse's
                 six-month total by six, and enter the result on the appropriate line.                                    Income              Income

         3       Gross wages, salary, tips, bonuses, overtime, commissions.                                           $        4,983.15 $
                 Income from the operation of a business, profession or farm. Subtract Line b from Line a and
                 enter the difference in the appropriate column(s) of Line 4. If you operate more than one
                 business, profession or farm, enter aggregate numbers and provide details on an attachment. Do
                 not enter a number less than zero. Do not include any part of the business expenses entered on
         4       Line b as a deduction in Part V.
                                                                             Debtor                 Spouse
                  a.     Gross receipts                               $               0.00 $
                  b.     Ordinary and necessary business expenses $                   0.00 $
                  c.     Business income                              Subtract Line b from Line a               $                   0.00 $
                 Rent and other real property income. Subtract Line b from Line a and enter the difference in
                 the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include any
                 part of the operating expenses entered on Line b as a deduction in Part V.
         5                                                                 Debtor                Spouse
                  a.    Gross receipts                              $                0.00 $
                  b.    Ordinary and necessary operating expenses $                  0.00 $
                  c.    Rent and other real property income         Subtract Line b from Line a                       $             0.00 $
         6       Interest, dividends, and royalties.                                                                  $             0.00 $
         7       Pension and retirement income.                                                                       $             0.00 $
                 Any amounts paid by another person or entity, on a regular basis, for the household
                 expenses of the debtor or the debtor's dependents, including child support paid for that
         8       purpose. Do not include alimony or separate maintenance payments or amounts paid by your
                 spouse if Column B is completed. Each regular payment should be reported in only one column;
                 if a payment is listed in Column A, do not report that payment in Column B.                          $             0.00 $
                 Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
                 However, if you contend that unemployment compensation received by you or your spouse was a
                 benefit under the Social Security Act, do not list the amount of such compensation in Column A
         9       or B, but instead state the amount in the space below:
                  Unemployment compensation claimed to
                  be a benefit under the Social Security Act Debtor $             0.00 Spouse $                       $             0.00 $
                 Income from all other sources. Specify source and amount. If necessary, list additional sources
                 on a separate page. Do not include alimony or separate maintenance payments paid by your
                 spouse if Column B is completed, but include all other payments of alimony or separate
                 maintenance. Do not include any benefits received under the Social Security Act or payments
                 received as a victim of a war crime, crime against humanity, or as a victim of international or
        10       domestic terrorism.
                                                                            Debtor                   Spouse
                  a. Wrongful death Settlement                        $            369.14 $
                  b.                                                  $                      $
                 Total and enter on Line 10                                                                           $          369.14 $
        11       Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A, and, if
                 Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).               $                5,352.29 $



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Filed 04/04/14                                                                Case 14-23526                                                                      Doc 1
      B22A (Official Form 22A) (Chapter 7) (04/13)                                                                                                               3

                 Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add Line 11,
        12       Column A to Line 11, Column B, and enter the total. If Column B has not been completed, enter
                 the amount from Line 11, Column A.                                                                     $                            5,352.29

                                                    Part III. APPLICATION OF § 707(b)(7) EXCLUSION
        13       Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12 and
                 enter the result.                                                                                                         $        64,227.48
                 Applicable median family income. Enter the median family income for the applicable state and household size.
        14       (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
                  a. Enter debtor's state of residence:                  CA       b. Enter debtor's household size:           2            $        62,917.00
                 Application of Section 707(b)(7). Check the applicable box and proceed as directed.
        15       o The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does not arise" at the
                   top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
                 n The amount on Line 13 is more than the amount on Line 14.             Complete the remaining parts of this statement.

                             Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)
                             Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
        16       Enter the amount from Line 12.                                                                                            $          5,352.29
                 Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in Line 11,
                 Column B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor's
                 dependents. Specify in the lines below the basis for excluding the Column B income (such as payment of the
                 spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's dependents) and the
                 amount of income devoted to each purpose. If necessary, list additional adjustments on a separate page. If you did
        17       not check box at Line 2.c, enter zero.
                  a.                                                                            $
                  b.                                                                            $
                  c.                                                                            $
                  d.                                                                            $
                 Total and enter on Line 17                                                                                                $                0.00
        18       Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                               $          5,352.29

                                             Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                                       Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
                 National Standards: food, clothing and other items. Enter in Line 19A the "Total" amount from IRS National
                 Standards for Food, Clothing and Other Items for the applicable number of persons. (This information is available
       19A       at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable number of persons is the number
                 that would currently be allowed as exemptions on your federal income tax return, plus the number of any
                 additional dependents whom you support.                                                                              $               1,053.00
                 National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
                 Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
                 Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
                 www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of persons
                 who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65 years of age or
                 older. (The applicable number of persons in each age category is the number in that category that would currently
                 be allowed as exemptions on your federal income tax return, plus the number of any additional dependents whom
       19B
                 you support.) Multiply Line a1 by Line b1 to obtain a total amount for persons under 65, and enter the result in
                 Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons 65 and older, and enter the result in Line
                 c2. Add Lines c1 and c2 to obtain a total health care amount, and enter the result in Line 19B.
                              Persons under 65 years of age                         Persons 65 years of age or older
                  a1.     Allowance per person                         60 a2.      Allowance per person                      144
                  b1.     Number of persons                             2 b2.      Number of persons                             0
                  c1.     Subtotal                               120.00 c2.        Subtotal                                 0.00      $                 120.00
                 Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
                 Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
       20A       available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable family size consists of
                 the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
                 any additional dependents whom you support.                                                                               $            481.00



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Filed 04/04/14                                                           Case 14-23526                                                                         Doc 1
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                 Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
                 Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is
                 available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable family size consists of
                 the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
                 any additional dependents whom you support); enter on Line b the total of the Average Monthly Payments for any
       20B       debts secured by your home, as stated in Line 42; subtract Line b from Line a and enter the result in Line 20B. Do
                 not enter an amount less than zero.
                  a.    IRS Housing and Utilities Standards; mortgage/rental expense $                                     2,052.00
                  b.    Average Monthly Payment for any debts secured by your
                        home, if any, as stated in Line 42                               $                                   348.87
                  c.    Net mortgage/rental expense                                      Subtract Line b from Line a.               $               1,703.13
                 Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A and
                 20B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
        21       Standards, enter any additional amount to which you contend you are entitled, and state the basis for your
                 contention in the space below:
                                                                                                                                         $                0.00
                 Local Standards: transportation; vehicle operation/public transportation expense.
                 You are entitled to an expense allowance in this category regardless of whether you pay the expenses of operating a
                 vehicle and regardless of whether you use public transportation.
                 Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
                 included as a contribution to your household expenses in Line 8.
       22A
                 o0       n 1 o 2 or more.
                 If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
                 Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from IRS Local
                 Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or
                 Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)           $            306.00
                 Local Standards: transportation; additional public transportation expense. If you pay the operating expenses
                 for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction for
       22B       you public transportation expenses, enter on Line 22B the "Public Transportation" amount from IRS Local
                 Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                 court.)                                                                                                                $                 0.00
                 Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for which
                 you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
                 vehicles.)
                 n 1 o 2 or more.
                 Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
        23       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
                 Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from Line a and enter
                 the result in Line 23. Do not enter an amount less than zero.
                  a.      IRS Transportation Standards, Ownership Costs                 $                                    517.00
                          Average Monthly Payment for any debts secured by Vehicle
                  b.      1, as stated in Line 42                                       $                                    385.00
                  c.      Net ownership/lease expense for Vehicle 1                     Subtract Line b from Line a.                     $            132.00
                 Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
                 the "2 or more" Box in Line 23.
                 Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
                 (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
        24       Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from Line a and enter
                 the result in Line 24. Do not enter an amount less than zero.
                  a.      IRS Transportation Standards, Ownership Costs                 $                                       0.00
                          Average Monthly Payment for any debts secured by Vehicle
                  b.      2, as stated in Line 42                                       $                                       0.00
                  c.      Net ownership/lease expense for Vehicle 2                     Subtract Line b from Line a.                     $                0.00
                 Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal,
        25       state and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social
                 security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                          $          1,368.41



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Filed 04/04/14                                                                         Case 14-23526                                                                          Doc 1
        B22A (Official Form 22A) (Chapter 7) (04/13)                                                                                                                          5

                    Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly payroll
           26       deductions that are required for your employment, such as retirement contributions, union dues, and uniform costs.
                    Do not include discretionary amounts, such as voluntary 401(k) contributions.                                      $                                 0.00
                    Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for term
           27       life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for
                    any other form of insurance.                                                                                                        $              25.00
                    Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
           28       pay pursuant to the order of a court or administrative agency, such as spousal or child support payments. Do not
                    include payments on past due obligations included in Line 44.                                                                       $                0.00
                    Other Necessary Expenses: education for employment or for a physically or mentally challenged child. Enter
           29       the total average monthly amount that you actually expend for education that is a condition of employment and for
                    education that is required for a physically or mentally challenged dependent child for whom no public education
                    providing similar services is available.                                                                          $                                  0.00

           30       Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
                    childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.                       $                0.00
                    Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend on
           31       health care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by
                    insurance or paid by a health savings account, and that is in excess of the amount entered in Line 19B. Do not
                    include payments for health insurance or health savings accounts listed in Line 34.                                                 $                0.00
                    Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
           32       actually pay for telecommunication services other than your basic home telephone and cell phone service - such as
                    pagers, call waiting, caller id, special long distance, or internet service - to the extent necessary for your health and
                    welfare or that of your dependents. Do not include any amount previously deducted.                                                  $              50.00
           33       Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                                                 $          5,238.54

                                                     Subpart B: Additional Living Expense Deductions
                                            Note: Do not include any expenses that you have listed in Lines 19-32
                    Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly expenses in
                    the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your
                    dependents.
           34
                     a.         Health Insurance                                                $                                   129.63
                     b.         Disability Insurance                                            $                                       0.00
                     c.         Health Savings Account                                          $                                     28.33             $            157.96
                    Total and enter on Line 34.
                    If you do not actually expend this total amount, state your actual total average monthly expenditures in the space
                    below:
                    $
                    Continued contributions to the care of household or family members. Enter the total average actual monthly
           35       expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
                    ill, or disabled member of your household or member of your immediate family who is unable to pay for such
                    expenses.                                                                                                                           $                0.00
                    Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
           36       actually incurred to maintain the safety of your family under the Family Violence Prevention and Services Act or
                    other applicable federal law. The nature of these expenses is required to be kept confidential by the court.                        $                0.00
                    Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS Local
           37       Standards for Housing and Utilities, that you actually expend for home energy costs. You must provide your case
                    trustee with documentation of your actual expenses, and you must demonstrate that the additional amount
                    claimed is reasonable and necessary.                                                                            $                                    0.00
                    Education expenses for dependent children less than 18. Enter the total average monthly expenses that you
                    actually incur, not to exceed $156.25* per child, for attendance at a private or public elementary or secondary
           38       school by your dependent children less than 18 years of age. You must provide your case trustee with
                    documentation of your actual expenses, and you must explain why the amount claimed is reasonable and
                    necessary and not already accounted for in the IRS Standards.                                                                       $                0.00
    *   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


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      B22A (Official Form 22A) (Chapter 7) (04/13)                                                                                                             6

                 Additional food and clothing expense. Enter the total average monthly amount by which your food and clothing
                 expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
        39       Standards, not to exceed 5% of those combined allowances. (This information is available at www.usdoj.gov/ust/
                 or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
                 reasonable and necessary.                                                                                               $                0.00

        40       Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash or
                 financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                             $              83.00
        41       Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40                              $            240.96

                                                               Subpart C: Deductions for Debt Payment
                 Future payments on secured claims. For each of your debts that is secured by an interest in property that you
                 own, list the name of the creditor, identify the property securing the debt, state the Average Monthly Payment, and
        42       check whether the payment includes taxes or insurance. The Average Monthly Payment is the total of all amounts
                 scheduled as contractually due to each Secured Creditor in the 60 months following the filing of the bankruptcy
                 case, divided by 60. If necessary, list additional entries on a separate page. Enter the total of the Average Monthly
                 Payments on Line 42.
                        Name of Creditor                   Property Securing the Debt               Average Monthly Does payment
                                                                                                             Payment include taxes
                                                                                                                        or insurance?
                                                           2012 Ford Fusion Sedan
                                                           39,000 Miles
                   a. Ford Cred                            Good Condition                         $           385.00 oyes nno
                                                                   1201 Glen Cove Parkway
                                                                   #1002
                       Treasurer Tax                               Vallejo, CA 94591
                    b. Collector-County Clerk                      Foreclosed by HOA             $             19.82    nyes ono
                                                                   Personal Residence:
                                                                   1953 Manor Pl Num 104
                    c. Us Bank                                     Fairfield CA 94533            $           348.87 oyes nno
                                                                   1201 Glen Cove Parkway
                                                                   #1002
                                                                   Vallejo, CA 94591
                    d. Us Bank Home Mortgage                       Foreclosed by HOA             $           479.71 oyes nno
                                                                                                     Total: Add Lines                    $          1,233.40
                 Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary residence, a
                 motor vehicle, or other property necessary for your support or the support of your dependents, you may include in
        43       your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor in addition to the
                 payments listed in Line 42, in order to maintain possession of the property. The cure amount would include any
                 sums in default that must be paid in order to avoid repossession or foreclosure. List and total any such amounts in
                 the following chart. If necessary, list additional entries on a separate page.
                        Name of Creditor                   Property Securing the Debt                    1/60th of the Cure Amount
                                                           1201 Glen Cove Parkway #1002
                                                           Vallejo, CA 94591
                   a. Us Bank Home Mortgage                Foreclosed by HOA                       $                        167.40
                                                                                                                   Total: Add Lines      $            167.40
                 Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such as
        44       priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing. Do
                 not include current obligations, such as those set out in Line 28.                                                      $                0.00
                 Chapter 13 administrative expenses. If you are eligible to file a case under chapter 13, complete the following
                 chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative expense.

                  a.       Projected average monthly chapter 13 plan payment.                    $                          200.00
        45        b.       Current multiplier for your district as determined under schedules
                           issued by the Executive Office for United States Trustees. (This
                           information is available at www.usdoj.gov/ust/ or from the clerk of
                           the bankruptcy court.)                                                x                             4.20
                  c.       Average monthly administrative expense of chapter 13 case             Total: Multiply Lines a and b           $                8.40
        46       Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                              $          1,409.20


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        B22A (Official Form 22A) (Chapter 7) (04/13)                                                                                                                                    7

                                                                  Subpart D: Total Deductions from Income
          47        Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                                                   $          6,888.70

                                                 Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
          48        Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                                        $          5,352.29
          49        Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                                             $          6,888.70
          50        Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                                              $         -1,536.41

          51        60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and enter the
                    result.                                                                                                                                       $       -92,184.60
                    Initial presumption determination. Check the applicable box and proceed as directed.
                    n The amount on Line 51 is less than $7,475*. Check the box for "The presumption does not arise" at the top of page 1 of this
          52        statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
                    o The amount set forth on Line 51 is more than $12,475* Check the box for "The presumption arises" at the top of page 1 of this
                    statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
                    o The amount on Line 51 is at least $7,475*, but not more than $12,475*. Complete the remainder of Part VI (Lines 53 through 55).
          53        Enter the amount of your total non-priority unsecured debt                                                                                    $
          54        Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                                        $
                    Secondary presumption determination. Check the applicable box and proceed as directed.
                    o The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at the top of page 1
          55        of this statement, and complete the verification in Part VIII.
                    o The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for "The presumption arises" at the top
                    of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.


                                                               Part VII. ADDITIONAL EXPENSE CLAIMS
                    Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare of
                    you and your family and that you contend should be an additional deduction from your current monthly income under §
                    707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for
                    each item. Total the expenses.
          56
                             Expense Description                                                                                                     Monthly Amount
                     a.                                                                                                        $
                     b.                                                                                                        $
                     c.                                                                                                        $
                     d.                                                                                                        $
                                                                              Total: Add Lines a, b, c, and d                  $

                                                                              Part VIII. VERIFICATION
                    I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
                    must sign.)
          57                      Date: April 4, 2014                                           Signature: /s/ Peggy Annette Dean
                                                                                                             Peggy Annette Dean
                                                                                                                        (Debtor)




    *
        Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


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